                 Case
                   Case
                      2:21-cv-00904-MJP
                         2:21-cv-00904 Document
                                        Document3 1-2
                                                   FiledFiled
                                                         07/07/21
                                                              07/06/21
                                                                    PagePage
                                                                         9 of 1
                                                                              15of 7




1                                                       •«• • •••••
                                            • • • • N • • N • M • N • N         •   • • • • • • • • • 00000000000
2                                                 • M •     •   •   • • • • • • • • • • • • • • •

                                        • •   • • • M   •   •   •   • •   • •    • • • • • • • • • • • • • • • • • • • • • • • •

3                                                       • NM•       • •••••••'

                                        •   • • • N•N•NN••••NN                      • •••••••••••••••••••••••••

4

 5
                     SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
6

 7   DAVID J. WELCH and LINDA WELCH, husband                              NO.
     and wife,
 8                                                                        COMPLAINT FOR PERSONAL
                        Plaintiff,                                        INJURIES
 9
            V.

10
     AIR & LIQUID SYSTEMS CORPORATION,
11    as Successor by Merger to BUFFALO PUMPS,
      INC.;
12   ATLANTIC RICHFIELD COMPANY (ARCO);
     BP AMERICA, INC.;
13   BP CORPORATION OF NORTH AMERICA,
      INC., as successor in interest to AMOCO, INC.
14    and AMERICAN OIL COMPANY;
     BP PRODUCTS NORTH AMERICA, INC., as
15    successor in interest to AMOCO, INC. and
      AMERICAN OIL COMPANY;
16   BRAND INSULATIONS, INC.;
     BW/IP, INC., f/k/a BORG-WARNER
17    INDUSTRIAL PRODUCTS, successor-in-
      interest to BYRON JACKSON PUMPS;
18   CARRIER CORPORATION;
     COOPER INDUSTRIES, INC., f/k/a THE
19    COOPER-BESSEMER CORPORATION;
     ELECTROLUX HOME PRODUCTS, INC.,
20    as successor-in-interest to COPES-VULCAN,
      INC.;
21   FLOWSERVE US INC., solely as
      successor-in-interest to EDWARD VALVES,
22    INC.;
     FOSTER WHEELER LLC;
23   GENERAL ELECTRIC COMPANY;
     GOULDS PUMPS (IPG), LLC;


      COMPLAINT FOR PERSONAL INJURIES - 1                                             BERGMAN DRAPER OSLUND UDO
                                                                                              821 2ND AVENUE, SUITE 2100
                                                                                                  SEATTI,E, WA 98104
                                                                                               TG[,EPHONE: 206.957.9510
               Case
                 Case
                    2:21-cv-00904-MJP
                      2:21-cv-00904 Document
                                      Document
                                             3 1-2
                                               FiledFiled
                                                    07/07/21
                                                          07/06/21
                                                               PagePage
                                                                    10 of215
                                                                           of 7




     HASKELL CORPORATION;
     IMO INDUSTRIES, INC., individually and as
2     successor-in-interest to DE LAVAL TURBINE,
      INC. and liable for C.H. WHEELER;
3    ITT LLC, as successor-in-interest to FOSTER
      VALVES;
4    METALCLAD INSULATION LLC;
     METROPOLITAN LIFE INSURANCE
5     COMPANY;
     NORTH COAST ELECTRIC COMPANY;
6    PFIZER, INC.;
     P-G INDUSTRIES, INC., as successor-in-
7     interest to PRYOR GIGGEY CO., INC.;
     SPIRAX SARCO, INC.;
8    TATE ANDALE, LLC;
     THE NASH ENGINEERING COMPANY;
 9   UNION CARBIDE CORPORATION;
     VELAN VALVE CORPORATION;
10   VIACOMCBS, INC.;
     TWC THE VALVE COMPANY, L.L.C.;
11   WARREN PUMPS, LLC., Individually and as
      successor in interest to QUIMBY PUMP
12    COMPANY;
     WEIR VALVE & CONTROLS USA INC.,
13    Individually and as successor-in-interest to
      ATWOOD & MORRILL CO., INC.;
14   WESTINGHOUSE ELECTRIC
      CORPORATION, as successor-in-interest to B.F.
15     STURTEVANT COMPANY; and
     THE WILLIAM POWELL COMPANY,
16
                         Defendants.
17

18
                                                  I. PARTIES
19
             Plaintiffs David J. Welch and Linda Welch, husband and wife, reside in Sumas,
20
      Washington. Defendants and their predecessors-in-interest are corporations who, at all relevant
21
      times, manufactured, sold, distributed, installed, specified, or purchased asbestos-containing
22
      products or products that were used in conjunction with asbestos.
23



      COMPLAINT FOR PERSONAL INJURIES - 2                              BERGMAN DRAPER OSLUND UDO
                                                                            821 2ND AVENUE, SUITE 2100
                                                                                SEATTLE, WA 98104
                                                                             TELEPkION E: 206.957.9510
               Case
                 Case
                    2:21-cv-00904-MJP
                      2:21-cv-00904 Document
                                      Document
                                             3 1-2
                                               FiledFiled
                                                    07/07/21
                                                          07/06/21
                                                               PagePage
                                                                    11 of315
                                                                           of 7




1                                          I.       JURISDICTION

2           This Court has jurisdiction over this cause under RCW 4.12.025 because, at all relevant

3    times, defendants transacted business and/or may be served with process in King County,

4    Washington. This Court has specific jurisdiction over all out-of-state defendants because they

 5   each purposefully performed acts or consummated transactions in Washington State, Plaintiffs

 6   cause of action arises out of and/or relates to defendants' activities and/or transactions in

 7   Washington State, and assumption of jurisdiction over such out-of-state defendants by this Court

 8   does not offend traditional notions of fair play and substantial justice.

 9                                                II.    FACTS

10          Plaintiff David J. Welch, (DOB: 1944) was exposed to asbestos and asbestos-containing

11   products which had been mined, manufactured, produced, installed and/or placed into the stream

12   of commerce by the defendants and/or was exposed to asbestos through the use of products

13   manufactured by defendants. As a direct and proximate result of this exposure, plaintiff David J.

14   Welch developed mesothelioma. Plaintiff provides the following information:

15
              A.      Specific Disease:         Mesothelioma
16
              B.     Date of Diagnosis:         May 2021
17
              C.      Occupation:               Fireman; Welder
18
              D.      Places of Exposure:       U.S. Navy (1965-1969);
19                                              Northwest Washington Industrial Sites (1969-1996)

20            E.      Dates of Exposure:        1960s-1990s

21            F.      Current Address:          5295 Reese Hill Road
                                                Sumas, WA 98292
22

23



     COMPLAINT FOR PERSONAL INJURIES - 3                                BERGMAN DRAPER OSLUND UDO
                                                                                 821 2ND AVENUE, SUITE 2100
                                                                                     SEATT[.E, WA 98104
                                                                                  TELEPxONE: 306.957.9510
               Case
                 Case
                    2:21-cv-00904-MJP
                      2:21-cv-00904 Document
                                      Document
                                             3 1-2
                                               FiledFiled
                                                    07/07/21
                                                          07/06/21
                                                               PagePage
                                                                    12 of415
                                                                           of 7




1                                            III.    LIABILITY

2           Plaintiffs claim liability based upon the theories of product liability, negligence,

3    conspiracy, unsafe workplace, strict liability for abnormally dangerous activities, and any other

4    applicable theory of liability. The liability-creating conduct of defendants consisted, inter alia, of

 5   negligent and unsafe design; failure to inspect, test, warn, instruct, monitor and/or recall; failure

6    to substitute safe products; post-sale failure to warn, marketing or installing unreasonably

 7   dangerous or extra-hazardous and/or defective products; marketing, maintaining or installing

 8   products not reasonably safe as designed; marketing maintaining or installing products not

 9   reasonably safe for lack of adequate warning and marketing maintaining or installing products

10   with misrepresentations of product safety.

11           Defendant Pfizer, Inc. is liable as an apparent manufacture of asbestos products under

12   RESTATE1vtENT SECOND TORTs § 400 because it put out asbestos products as its own. By placing

13   its logo on the packaging and promotional materials for asbestos products, Pfizer used its world-

14   renown brand identify to vouch for the quality and wholesomeness of such products, causing

15   both reasonable consumers and sophisticated purchasers to understand Pfizer to be these

16   products' manufacturer. Pfizer also inserted itself into the manufacture, promotion, and sale of

17   asbestos products so as to fall within their chain of distribution.

18                                           IV.     DAMAGES

19           As a proximate result of defendants' tortious conduct, plaintiff David J. Welch sustained

20   pain, suffering, and disability in an amount not now known, but which will be proven at trial.

21   Plaintiff David J. Welch also sustained medical expenses and economic losses in an amount to be

22   proven at trial. Plaintiff Linda Welch has sustained loss of consortium as a result of David J.

23   Welch's illness.




     COMPLAINT FOR PERSONAL INJURIES - 4                                   BERGMAN DRAPER OSLUND UDO
                                                                               8212ND AVENUE, SUITE 2100
                                                                                   SEATTLE, WA 98104
                                                                                TELEPI IONE: 206.959.9510
                  Case
                    Case
                       2:21-cv-00904-MJP
                         2:21-cv-00904 Document
                                         Document
                                                3 1-2
                                                  FiledFiled
                                                       07/07/21
                                                             07/06/21
                                                                  PagePage
                                                                       13 of515
                                                                              of 7




1            WHEREFORE, plaintiffs pray for judgment against the defendants and each of them as

2    follows:

3            1.       For general and special damages specified above, including pain, suffering,

4    inconvenience, mental anguish, disability, disfigurement, emotional distress, humiliation, and

 5   loss of consortium;

 6           2.       For medical and related expenses, and economic loss, all of which will be proven

 7   at the time of trial;

 8           3.       For punitive damages based on the application of other states' law;

 9           4.       For plaintiff's costs and disbursements herein;

10           5.       For prejudgment interest in the amount to be proven at trial; and

11           6.       For such other relief as the Court deems just.

12            DATED this 1St day of June 2021.

13                                           BERGMAN DRAPER OSLUND UDO, PLLC

14                                           By      /s/ Matthew P. Bergman
                                                  Matthew P. Bergman, WSBA #20894
15                                                Vanessa J. Firnhaber Oslund, WSBA #38252
                                                  821 2°d Avenue, Suite 2100
16                                                Seattle, WA 98104
                                                  Telephone: (206) 957-9510
17                                                Email: matt@bergmanlegal.com
                                                          vanessa@bergmanlegal.com
18                                                        service@bergmanlegal.com
                                                  Attorneys for Plaintiffs
19

20

21

22

23



     COMPLAINT FOR PERSONAL INJURIES - 5                                BERGMAN DRAPER OSLUND UDO
                                                                             821 2ND AVENUE, SUITF. 2100
                                                                                 SEATTLe, WA 98104
                                                                              TELErHONE: 206.957.9510
            Case
              Case
                 2:21-cv-00904-MJP
                   2:21-cv-00904 Document
                                   Document
                                          3 1-2
                                            FiledFiled
                                                 07/07/21
                                                       07/06/21
                                                            PagePage
                                                                 14 of615
                                                                        of 7




 1                                  CERTIFICATE OF SERVICE

 2          I certify under the penalty of perjury under the laws of the State of Washington that on

 3   this date the foregoing document was filed using the Court’s E-filing system, which will serve

 4   a copy on all counsel of record.

 5
      Attorneys for Plaintiff                        Attorneys for Metropolitan Life Insurance
 6    Matthew P. Bergman                             Company
      Vanessa Firnhaber Oslund                       Richard G. Gawlowski
 7    Bergman Draper Oslund PLLC                     Wilson Smith Cochran Dickerson
      821 2nd Ave, Suite 2100                        901 Fifth Avenue, Suite 1700
 8    Seattle, WA 98104                              Seattle, WA 98164
      service@bergmanlegal.com                       metlifeasbestos@wscd.com
 9
      Attorneys for Brand Insulations, Inc.          Attorneys for A.W. Chesterton
10    David A. Shaw                                  Laura E. Kruse
      Williams Kastner & Gibbs PLLC                  Forsberg & Umlauf, P.S.
11    601 Union Street, Suite 4100                   901 Fifth Avenue, Suite 1400
      Seattle, WA 98101                              Seattle, WA 98164
12    wkgasbestos@williamskastner.com                lkruse@foum.law

13    Attorneys for North Coast Electric             Attorneys for Goulds Pumps, Inc. and ITT
      Company and Warren Pumps                       Corporation
14    Allen E. Eraut                                 Ronald C. Gardner
      Shaun M. Morgan                                Gardner Trabolsi & Associates PLLC
15    Rizzo Mattingly Bosworth PC                    2200 Sixth Avenue, Suite 600
      1300 SW Sixth Avenue, Suite 330                Seattle, WA 98121
16    asbestos@rizzopc.com                           asbestos@gandtlawfirm.com

17    Attorneys for IMO Industries                   Attorneys for Metalclad Insulation
      Michael E. Ricketts                            Corporation and Caterpillar, Inc.
18    Gordon Thomas Honeywell LLP                    Katherine M. Steele
      520 Pike Street, Suite 2350                    Karleen J. Scharer
19    Seattle, WA 98101                              Bullivant Houser Bailey PC
      IMOservice@gth-law.com                         925 Fourth Avenue, Suite 3800
20                                                   Seattle, WA 98104
                                                     asbestos@bullivant.com
21
      Attorneys for P-G Industries, Inc.             Attorneys for BW/IP International
22    Diane C. Babbitt                               Christine E. Dinsdale
      Kyle Jones                                     Rachel A. Rubin
23    Foley & Mansfield PLLC                         Soha & Lang, P.S.
      999 Third Avenue, Suite 3760                   1325 Fourth Avenue, Suite 2000
24    Seattle, WA 98104                              Seattle, WA 98101
      Asbestos-sea@foleymansfield.com                asbestos@sohalang.com
25


                                                                     GORDON REES SCULLY
                                                                     MANSUKHANI LLP
     CERTIFICATE OF SERVICE - 1
                                                                     701 5th Avenue, Suite 2100
                                                                     Seattle, WA 98104
                                                                     Telephone: (206) 695-5100
                                                                     Facsimile: (206) 689-2822
           Case
             Case
                2:21-cv-00904-MJP
                  2:21-cv-00904 Document
                                  Document
                                         3 1-2
                                           FiledFiled
                                                07/07/21
                                                      07/06/21
                                                           PagePage
                                                                15 of715
                                                                       of 7




 1   Attorneys for Tate Andale, LLC and           Attorneys for Carrier Corporation
     Haskell Corporation                          Nicole R. MacKenzie
 2   J. Scott Wood                                Megan E. Uhle
     Kyle Jones                                   Williams Kastner & Gibbs PLLC
 3   Foley & Mansfield, PLLP                      601 Union Street, Suite 4100
     999 Third Avenue, Suite 3760                 Seattle, WA 98101
 4   Seattle, WA 98104                            WKGasbestos@williamskastner.com
     Asbestos-sea@foleymansfield.com
 5   Attorneys for The William Powell             Attorneys for The Nash Engineering
     Company                                      Company and Weir Valve & Controls USA,
 6   Melissa K. Roeder                            Inc.
     James D. Hicks                               Dana C. Kopij
 7   Foley & Mansfield PLLC                       Megan E. Uhle
     999 Third Avenue, Suite 3760                 Williams Kastner & Gibbs PLLC
 8   Seattle, WA 98104                            601 Union Street Suite 4100
     Asbestos-sea@foleymansfield.com              Seattle, WA 98101
 9                                                WKGasbestos@williamskastner.com
10   Attorneys for Pfizer, Inc.                   Attorneys for Electrolux Home Products,
     Marissa A. Alkhazov                          Inc.; ViacomCBS, Inc.; Spirax Sarco, Inc.
11   John C. Kawczyk                              and General Electric
     Midori R. Sagara                             Christopher S. Marks
12   Betts Patterson Mines                        Malika Johnson
     701 Pike Street, Suite 1400                  Alice C. Serko
13   Seattle, WA 98101                            Tanenbaum Keale LLP
     asb@bpmlaw.com                               Seattle.asbestos@tktrial.com
14
     Attorneys for Flowserve US Inc.              Attorneys for Union Carbide Corporation
15   Randy J. Aliment                             George S. Pitcher
     Rachel Tallon Reynolds                       Rachel Tallon Reynolds
16   Taryn M. Basauri                             Taryn M. Basauri
     Lewis Brisbois Bisgaard & Smith LLP          Lewis Brisbois Bisgaard & Smith LLP
17   1111 Third Avenue, Suite 2700                1111 Third Avenue, Suite 2700
     Seattle, WA 98101                            Seattle, WA 98101
18   Seattle-asbestos@lewisbrisbois.com           Seattle-asbestos@lewisbrisbois.com
19   Attorneys for Atlantic Richfield
     Company; BP America, Inc.; BP
20   Corporation of North America, Inc.; and
     BP Products North America, Inc.
21   K. Michael Fandel
     Pier 70-2801 Alaskan Way, Suite 300
22   Seattle, WA 98121
     Michael.fandel@millernash.com
23

24         DATED this 7th day of July, 2021.
25                                             s/ Lynn Van Eyck
                                                Lynn Van Eyck

                                                                  GORDON REES SCULLY
                                                                  MANSUKHANI LLP
     CERTIFICATE OF SERVICE - 2
                                                                  701 5th Avenue, Suite 2100
                                                                  Seattle, WA 98104
                                                                  Telephone: (206) 695-5100
                                                                  Facsimile: (206) 689-2822
